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Case 1:19-cr-00077-JB Document 165 Filed 03/12/21 Page 2 of 10




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Case 1:19-cr-00077-JB Document 165 Filed 03/12/21 Page 4 of 10




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Case 1:19-cr-00077-JB Document 165 Filed 03/12/21 Page 5 of 10




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Case 1:19-cr-00077-JB Document 165 Filed 03/12/21 Page 6 of 10




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    Case 1:19-cr-00077-JB Document 165 Filed 03/12/21 Page 7 of 10




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